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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                 Plaintiff,                                      Case No: 05-80025
 vs                                                              Hon. Victoria A. Roberts

 D-5       EARL JOHNSON,

                 Defendant.
                                      /


  OPINION DENYING JOHNSON MOTION TO VACATE, SET ASIDE, OR CORRECT
                            SENTENCE

           Earl Johnson’s (“Johnson”), charges arose from a December 12, 2001 robbery of

 an armored truck delivering cash to the Dearborn Federal Credit Union (“DFCU”) in

 Dearborn, Michigan. As two guards replenished the automated teller machines, several

 hooded men in masks approached and began shooting. One of the guards was killed

 and the robbers left with $204,000 in cash and the deceased guard’s .38 caliber

 revolver.

           Johnson challenges his federal convictions and sentences for (1) conspiracy to

 commit bank robbery, 18 U.S.C. §371; (2) bank robbery resulting in death, 18 U.S.C. §

 2113(a) and (e); and, (3) murder with a firearm during a crime of violence, 18 U.S.C.

 §924(j). Johnson filed a motion to vacate, set aside, or correct a sentence pursuant to

 28 U.S.C. §2255(a).

           For the reasons set forth below, his petition is DENIED.

      I.      PROCEDURAL HISTORY




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        A jury in the United States District Court for the Eastern District of Michigan

 convicted Johnson of three offenses. On April 22, 2008, he was sentenced to sixty

 month imprisonment for conspiracy to commit bank robbery (Count I), and life

 imprisonment for bank robbery and premeditated murder with a firearm. (Counts II and

 III). Johnson timely appealed. The Sixth Circuit affirmed his convictions. United States v.

 Johnson, 581 F.3d 320, 323 (6th Cir. 2009). The Supreme Court denied Johnson’s

 petition for certiorari review on June 17, 2010. Johnson v. United States, 560 U.S. 966,

 130 S. Ct. 3409, 177 L. Ed. 2d 326 (2010).

        On July 1, 2016, Johnson filed the motion now before the Court, raising the

 following issues:

    1. Johnson claims his §924(j) conviction must be set aside because it is

 unsupported by 18 U.S.C. §924(c)(3). He claims federal bank robbery under §2113(a)

 cannot constitute a “crime of violence” under §924(c)(3)(A) (the force clause) “because

 it can be accomplished without the use, attempted use, or threatened use of physical

 force.” Motion to Vacate. (Dk. 910) at 5. Johnson further claims federal bank robbery

 under § 2113(a) cannot constitute a “crime of violence” under §924(c)(3)(B) (the

 residual clause) because the residual clause is unconstitutionally vague after the

 Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015). Motion

 to Vacate. (Dk. 910) at 4.

    2. Johnson claims ineffective assistance of counsel, asserting counsel “(1) Failed

 to Properly Conduct Pre-trial Investigations; (2) Grossly Misinformed Petitioner

 Regarding Applicable Federal Law Which Caused Petitioner to Reject the Government’s




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 10 Year Plea Offer; and, (3) Failed to Raise Several Objections and Legal Arguments

 During the Sentencing Hearing.” Motion to Vacate. (Dk. 910) at 12.

    The United States filed a response to the Johnson’s motion, arguing that Johnson’s

 §924(j) conviction is supported by either clause of §924(c)(3). The Government

 contends that the Court cannot vacate the §924(j) conviction because (a) Johnson has

 not been made retroactively applicable on collateral review; (b) the Sixth Circuit’s

 decision in United States v. Taylor, 814 F.3d. 340 (2016) precludes Johnson’s claim by

 collateral estoppel; and, (c) even if the residual clause is unconstitutionally vague,

 Johnson’s §924(j) conviction is still supported by §924(c)(3) because armed bank

 robbery qualifies as a “crime of violence” under the force clause.

          Finally the Government asserts that a one-year statute of limitations bars

 Johnson’s ineffective assistance of counsel claim.

    II.      FACTS

          In August 2004, the Detroit office of the Federal Bureau of Investigation received

 a letter from Baron Nix-Bey, an inmate at the Ryan Correctional Facility, Michigan

 Department of Corrections. The letter stated Timothy O’Reilly, another inmate, had

 bragged about participating in the DFCU robbery. FBI agent Barry Higginbotham

 contacted Nix-Bey and asked him to take notes on his conversations with O’Reilly.

 When O’Reilly was transferred to Macomb Correctional Facility, the Michigan

 Department of Corrections also transferred Nix-Bey.

          In October or November of 2004, Agent Higginbotham asked Nix-Bey if he would

 be willing to use a recording device in his conversations with O’Reilly. Nix-Bey agreed.




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           On December 14, 2004, using a recording device disguised as a radio, Nix-Bey

 recorded a conversation with O’Reilly in the yard of the Macomb Correctional Facility.

 He asked O’Reilly for details about the DFCU robbery. O’Reilly provided extensive

 information, including full names of other participants. Using this information,

 Higginbotham contacted and obtained the cooperation of two of the other robbers,

 Johnson’s co-defendants Khayyam Wilson and Henry Matthews. Through them,

 Higginbotham confirmed O’Reilly’s statements about the crime and learned more about

 the roles of the participants. Wilson and Matthews informed Higginbotham that Johnson

 recruited them. Johnson was arrested in December 2004.

    III.      STANDARD OF REVIEW

    A federal custodial sentence may be vacated, set aside or corrected if: (1) the

 sentence was imposed in violation of the Constitution or laws of the United States; (2)

 the court was without jurisdiction to impose the sentence; (3) the sentence was in

 excess of the maximum authorized by law; or, (4) the sentence is otherwise subject to

 collateral attack. 28 U.S.C.A. § 2255(a).

    To prevail, “a petitioner must demonstrate the existence of an error of constitutional

 magnitude[,] which has a substantial and injurious effect or influence on the guilty plea

 or the jury's verdict.” Humphress v. United States, 398 F.3d. 855, 858 (6th Cir. 2005).

    §2255 motions are subject to a one-year statute of limitations. The limitation period

 runs from the latest of: (1) the date the judgment became final; (2) the date an unlawful

 government impediment was removed, if the impediment prevented the motion; (3) the

 date the right asserted was initially recognized by the Supreme Court, if the right was

 made retroactively applicable to cases on collateral review; and, (4) the date the facts


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 supporting the claim presented could have been discovered through due diligence.

 §2255(f)(1)-(4).

    IV.      ANALYSIS

          A. Johnson’s Conviction Under 924(j) is Supported by 924(c)(3)

          Johnson’s conviction under 18 U.S.C. § 924(j) must be supported by a “crime of

 violence” under §924(c)(3)(A) or (B). Section 924(j) provides sentencing guidelines for

 defendants who cause the death of a person by firearm while committing an act in

 violation of §924(c). Subsection (c) imposes mandatory additional sentences for anyone

 who uses or carries a firearm during or in relation to a “crime of violence.” A “crime of

 violence” is defined in subsection §924(c)(3) as “an offense that is a felony and—(A)

 has as an element the use, attempted use, or threatened use of physical force against

 the person or property of another, or (B) that by its nature, involves a substantial risk

 that physical force against the person or property of another may be used in the course

 of committing the offense.” §924(c)(3)(A) is referred to as the “force clause” and

 §924(c)(3)(B) is referred to as the “residual clause.”

          Under §2113(a), federal bank robbery can be accomplished by “force and

 violence, or by intimidation[.]”

                a. §924(c)(3)(A), The Force Clause

          Johnson argues §2113(a) is not a “crime of violence” under the force clause

 because it can be accomplished by intimidation, which can be accomplished

 unintentionally and without force.

          Johnson suggests the Court should take the “categorical approach” to determine

 whether his offense qualifies as a “crime of violence” under §924(c). This approach


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 requires courts to examine what the conviction necessarily involved rather than the

 specific facts of the case. Johnson v. United States, 559 U.S. 133, 140 (2010). Johnson

 argues that under this approach, if the most innocent conduct penalized by the statute

 does not constitute a “crime of violence,” the statute categorically fails to qualify as a

 ‘crime of violence.’” Motion to Vacate. (Dk. 910) at 6.

        The authority relied on by Johnson does not show that the Court must apply the

 categorical approach to determine if a crime is a “crime of violence” under §924(c)(3).

 Rather, his authority applies the categorical approach to other subsections of the

 statute. See Descamps v. United States, 133 S. Ct. 2276, 2283 (2013) (applying the

 categorical approach to determine whether a prior conviction was a “violent felony” for

 purposes of §924(e)); Moncrieffe v. Holder, 133 S. Ct. 1678, 1683 (2013) (applying the

 categorical approach to determine if a state conviction qualifies as a “drug trafficking

 crime” under the Controlled Substances Act, §924(c)(2)).

        Johnson also argues that, because “intimidation” can be accomplished without

 an intentional threat of force, it fails to satisfy the intentional mens rea requirement

 under the force clause. Johnson cites several cases from other circuits upholding

 convictions for federal bank robbery under §2113(a) despite defendants’ lack of intent to

 intimidate. Presumably, Johnson is arguing—again without providing supporting

 authority—convictions under the force clause require an intent, mens rea, element. This

 argument fails as well.

        The Sixth Circuit has rejected the argument that armed bank robbery under §

 2113(a) does not qualify as a crime of violence within the meaning of the force clause




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 merely because it may be committed with intimidation. See United States v. McBride,

 826 F.3d 293, 296 (6th Cir. 2016).

        Similarly, other Circuits hold that armed bank robbery under §2113(a) is a crime

 of violence for purposes of the force clause. See United States v. Adkins, 937 F. 2d

 947, 950 (4th Cir. 1991); United States v. Wright, 215 F.3d. 1020, 1028 (9th Cir. 2000);

 Royal v. Tombone, 141 F.3d. 596, 601 (5th Cir. 1998).

        Johnson’s argument is unavailing.

               b. §924(c)(3)(B), The Residual Clause

        Johnson claims the residual clause is unconstitutionally vague after the Supreme

 Court’s ruling in Johnson v. United States, 135 S. Ct. 2551 (2015).

        In Johnson, the Supreme Court held imposing an increased sentence under a

 similar clause, the residual clause of 18 U.S.C. §924(e), the Armed Career Criminal Act

 (ACCA), violated the constitutional guarantee of due process because the clause’s

 definition of “violent felony” was unconstitutionally vague.

        The ACCA requires courts to impose mandatory sentences for persons who have

 three previous convictions for a crime constituting a “violent felony,” and then who

 violate 18 U.S.C. §922(g). The ACCA defines a “violent felony” as: “any crime

 punishable by imprisonment for a term exceeding one year…that—(i) has as an

 element the use, attempted use, or threatened use of physical force against the person

 of another; or (ii) is burglary, arson, or extortion, involves use of explosives, or otherwise

 involves conduct that presents a serious potential risk of physical injury to another.”

 §924(e)(2)(B). The Supreme Court held the language “or otherwise involves conduct

 that presents a serious potential risk of physical injury to another,” known as the


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 ACCA’s residual clause, “denies fair notice to defendants and invites arbitrary

 enforcement by judges[,]” and therefore, “[i]ncreasing the defendant’s sentence under

 the clause denies due process of law.” Johnson, 135 S. Ct. at 2557.

                c. Johnson’s §2255 Motion is Time Barred

        Section 2255 motions are subject to a one-year statute of limitations which

 begins running the date the judgment became final. §2255(f)(1). An exception to this

 one-year rule exists for petitioners asserting a right newly recognized by the Supreme

 Court and made retroactively applicable on collateral review. §2255(f)(3). The right

 recognized in Johnson has not been made retroactively applicable on collateral review.

 Therefore, Johnson’s claim does not qualify for the exception to the one-year statute of

 limitations.

        Johnson’s conviction became final on June 17, 2010. His petition was not filed

 until July 1, 2016. Johnson’s claim is barred as untimely under §2255(f)(1).

        Even if this petition was timely, Johnson’s challenge is precluded by the Sixth

 Circuit’s decision in Taylor. In Taylor, the defendant was convicted under §924(j). The

 defendant argued the Supreme Court’s decision in Johnson compelled the conclusion

 that the residual clause of §924(c)(3) was unconstitutionally vague because the

 language was substantially similar to the language of the residual clause invalidated in

 Johnson. The Sixth Circuit declined to apply the reasoning in Johnson to invalidate the

 residual clause of §924(c)(3); the Court found the definition of “crime of violence” under

 §924(c)(3)(B) is narrower than the definition of “violent felony” under the statute

 invalidated in Johnson. The Taylor Court specifically held the analysis in Johnson does

 not apply to §924(c)(3) convictions. Taylor, 814 F.3d. at 375-377.


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         Unquestionably, Johnson’s particular crime was a crime of violence.

         Johnson’s §924(c)(3) claim fails entirely.

         B. Johnson’s Ineffective Assistance of Counsel Claim is Time Barred.

         Johnson’s ineffective assistance of counsel claim is barred as untimely. It was

 raised six years after his conviction became final. Johnson asserts no ineffective

 assistance of counsel claim which fits any of the exceptions to the one-year statute of

 limitations in §2255(f). He cites to no unlawful governmental impediments to his

 ineffective assistance of counsel claim, let alone an impediment removed within the

 year prior to his motion. Johnson relies on no retroactively applicable right to counsel

 newly recognized by the Supreme Court within the year prior to his filing. Finally,

 Johnson cites no new facts to support a claim of newly discovered evidence within the

 year prior to his filing.

    V.      CONCLUSION

    Petitioner’s motion is DENIED.

    IT IS ORDERED.

                                               S/Victoria A. Roberts
                                               United States District Judge


    Dated: December 8, 2016




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